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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JAMES LOTT,                                             CIVIL ACTION
                        Plaintiff,

                v.

 THOMAS JEFFERSON UNIVERSITY,                            NO. 18-4000
               Defendant.

                                           ORDER

       AND NOW, this 19th day of October, 2020, upon consideration of Defendant Thomas

Jefferson University’s Motion for Summary Judgment (Document No. 17, filed November 25,

2019), Plaintiff’s Memorandum of Law in Opposition to Defendant’s Motion for Summary

Judgment (Document No. 23, filed January 6, 2020) and Defendant’s Reply Brief in Support of

its Motion for Summary Judgment (Document No. 27, filed January 16, 2020), for the reasons

stated in the Memorandum dated October 16, 2020, IT IS ORDERED that Defendant Thomas

Jefferson University’s Motion for Summary Judgment is DENIED.

       IT IS FURTHER ORDERED that the Court will conduct a telephone conference to

schedule all further proceedings in due course.



                                                  BY THE COURT:

                                                  /s/ Hon. Jan E. DuBois

                                                     DuBOIS, JAN E., J.
